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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                             Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                         1st Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Jose J Barahona                                    JOINT DEBTOR:                                           CASE NO.:
 Last Four Digits of SS#                   xxx-xx-2420                  Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 36 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $             973.34 for months              1     to        2      ;
           B.       $            1057.16 for months             3      to        4      ;
           C.       $             900.27 for months            5       to       25      ;
           D.       $             880.83 for months            26      to       35      ;
           E.       $             822.49 for months            36      to       36      ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  5,775.00        TOTAL PAID $                     3,500.00
                     Balance Due        $            2,275.00 payable $ 70.00                    /month (Months          1 to      25 )
                     Balance Due        $                         payable $ 52.50                /month (Months         26 to      35 )
                         Chapter 13 Bankruptcy $3,000, MMM $1,500.00, Motion to Modify $525.00, Motion to Value $750.00

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 1. Ditech /Green Tree Servicing.                                Arrearage on Petition Date $ 0.00
                  Po Box 6172
                  Rapid City, SD
      Address:    57709                                              Arrears Payment $                        0.00 /month (Months 0 to 0 )
      Account No: xxxxxx8550                                         MMM Payment $                          636.00 /month (Months 1 to 4)
      Account No: xxxxxx8550                                           Trial Payment $                      494.80 /month (Months 5 to 36)

 2. Carmel Townhomes Condo                                       Arrearage on Petition Date $ 0.00
                  1259 West 51 Place
      Address:    Hialeah, Fl 33012                                  Arrears Payment $                        0.00 /month (Months 0 to 0 )
      Account No: xxxxxx5507                                         Regular Payment $                      170.00 /month (Months 1 to 36)
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate          Plan Payments Months of Payment    Total Plan Payments

 Carmel Townhomes
 Condominium Association,                                      1333 W 51 Street
 Inc.                                                           Hialeah, Florida
 1259 West 51 Place                                                       33012
 Hialeah, Florida 33012                          $                    63,800.00             %           $             0.00       1 To 36                          $0.00
Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                                            /month           (Months to )        Regular Payment $

Unsecured Creditors: Pay $ 75.44 /month (Months 3 to 36 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.




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Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Nmac: Debtor will pay claim directly.

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that the deadline for providing
             the Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)
             shall provide the trustee with verification of their disposable income if their gross household income increases by
             more than 3% over the previous year’s income.

             The debtor has filed a Verified Motion for Referral to MMM with Ditech/ Green Tree (“Lender”), loan number
             _XXXX8550 ______, for real property located at _1333 W 51 St Place Hialeah, FL 33012_. The parties shall timely
             comply with all requirements of the Order of Referral to MMM and all Administrative Orders/LocalRules regarding
             MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
             modification/permanent payment is established by the parties, the debtor has included a post-petition plan payment,
             absent Court order to the contrary, of no less than the required 31% of the debtor’s gross monthly income (after
             deducting any amount paid toward HOA fees due for the property) as a good faith adequate Page 13 of 16protection
             payment to the lender. All payments shall be considered timely upon receipt by the trustee and not upon receipt by
             the lender. Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection
             to the lender’s proof of claim on the real property described above shall be held in abeyance as to the regular
             payment and mortgage arrearage stated in the proof of claim only. The debtor shall assert any and all other
             objections to the proof of claim prior to confirmation of the plan or modified plan.

                      If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement
             as a result of the pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage
             Modification Agreement with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification
             Agreement with Lender) no later than 14 calendar days following settlement. Once the settlement is approved by the
             Court, the debtor shall immediately amend or modify the plan to reflect the settlement and the lender shall amend its
             Proof of Claim to reflect the settlement, as applicable. If a settlement is reached after the plan is confirmed, the
             debtor will file a motion to modify the plan no later than 30 calendar days following approval of the settlement by the
             Court and the Lender shall have leave to amend its Proof of Claim to reflect the settlement reached after confirmation
             of the plan. The parties will then timely comply with any and all requirements necessary to complete the settlement.
             In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall
             immediately disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

                      If the lender and the debtor fail toreach a settlement, then no later than 14 calendar days after the mediator’s
             Final Report is filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the
             lender has filed a Proof of Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion
             to value; (b) provide that the real property will be “treated outside the plan”; or (c) provide that the real property will
             be surrendered. If the property is surrendered or “treated outside the plan,” the lender will be entitled to in rem stay
             relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a
             motion to confirm that the automatic stay is not in effect as to the real property. Page 14 of 16

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address
             payment of its Proof of Claim




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I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Jose J Barahona
 Jose J Barahona
 Debtor
 Date: September 25, 2015




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